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                  EXHIBIT A
                  (Redacted)
                                                                                            Case 4:20-cv-05640-YGR                                                    Document 1611-2                                                 Filed 05/27/25                                            Page 2 of 2
                                                                                                                                                                               Privilege Log Entries


                                                                                                             Document                                                                             Redact or                                                                                                                                                          Attorneys, Legal Staff, and Employees
     Doc Number         Production Beginning Bates Production End Bates   Custodians           Document Date Time       From   To   Cc   Bcc   Subject   Original Name                            Withhold    Privilege Type Privilege Description                                                                      Additional Privilege Context                 Acting at the Direction of Counsel
Publicly Filed Court Document
                                                                                                                                                         16. Order Granting Daubert Motions In                                                                                                                                                                       Gibson Dunn OC; Weil, Gotshal & Manges OC;
                                                                                                                                                         Part and Denying Class Certification                                                                                                                                                                        Juan Carols (Apple in-house counsel); Taylor
         593          PRIV-APL-EG_00010825        PRIV-APL-EG_00010851 Wilder, Jeff            2022-03-29    20:49:36                                    (March 29, 2022).pdf                     Withhold    AttorneyClient Document related to legal advice from counsel regarding                                                                                 Phillips (Apple in-house counsel)
Data Spreadsheets

                                                                                                                                                                                                                                                                                                                                                                 Gibson Dunn OC; Weil, Gotshal & Manges OC;
                                                                                                                                                                                                                             Document related to legal advice from counsel regarding foreign regulatory issues in the   Relates to Apple response to DMA request Juan Carols (Apple in-house counsel); Taylor
           642        PRIV-APL-EG_00012488        PRIV-APL-EG_00012488 Wilder, Jeff            2023-03-03    21:36:36                                    top_ipad_vs_iphone_apps.xlsx             Withhold    AttorneyClient European Union, including DMA                                                              for information                          Phillips (Apple in-house counsel)
                                                                                                                                                                                                                                                                                                                                                                 Gibson Dunn OC; Weil, Gotshal & Manges OC;
                                                                                                                                                         Top200_Apps_OverTime_RankByActiva                                   Document related to legal advice from counsel regarding foreign regulatory issues in the   Relates to Apple response to DMA request Juan Carols (Apple in-house counsel); Taylor
           643        PRIV-APL-EG_00012501        PRIV-APL-EG_00012501 Wilder, Jeff                                                                      tion.csv                          Withhold           AttorneyClient European Union, including DMA                                                              for information                          Phillips (Apple in-house counsel)
                                                                                                                                                                                                                                                                                                                                                                  Gibson Dunn OC; Weil, Gotshal & Manges OC;
                                                                                                                                                         Top200_Apps_OverTime_RankByTime.                                    Document related to legal advice from counsel regarding foreign regulatory issues in the   Relates to Apple submission regarding the Juan Carols (Apple in-house counsel); Taylor
           644        PRIV-APL-EG_00012502        PRIV-APL-EG_00012502 Wilder, Jeff                                                                      csv                              Withhold            AttorneyClient European Union, including DMA                                                              DMA                                       Phillips (Apple in-house counsel)
                                                                                                                                                                                                                                                                                                                        Competition analysis in connection with
                                                                                                                                                         IDC 2015-2022 Smartphone OS Vendor                                  Document reflecting legal advice from counsel regarding regulatory proceedings in India    regulatory proceedings in India related to   Rachel Flipse; Soolean Choy; Aude de
           2892       PRIV-APL-EG_00062521        PRIV-APL-EG_00062521 Wilder, Jeff            2023-04-14    20:30:49                                    Price Band.xlsx                    Withhold          AttorneyClient related to the App Store                                                                   the App Store.                               Crayencour (all Apple in-house counsel)
                                                                                                                                                                                                                              Document related to information for the purpose of obtaining legal advice prepared at the
                                                                                                                                                         IDC 2015-2022 Smartphone OS Vendor                   AttorneyClient; direction of counsel regarding foreign regulatory issues before the Competition           Discussion of foreign regulatory issues    Soolean Choy; Aude de Crayencour; Rachel
        2938          PRIV-APL-EG_00063590        PRIV-APL-EG_00063590 Wilder, Jeff            2023-04-14    20:30:49                                    Price Band.xlsx                    Withhold          WorkProduct Commission of India prepared in anticipation or furtherance of litigation                     before the Competition Commission of India Flipse (all Apple in-house counsel)
Employee Chat


                                                                                                                                                         Private channel #        engineering -                              Document providing legal advice from counsel regarding injunction compliance and U.S.
        1494           PRIV-APL-EG_00040719       PRIV-APL-EG_00040726 Liu, Terry              2022-02-04    18:08:18                                    2022-02-04 (UTC).pdf                     Withhold    AttorneyClient Link Entitlement program eligibility                                                                                                    Ling Lew (Apple in-house counsel)
Developer Fee Analysis

                                                                       Oliver, Carson;                                                                                                                                                                                                                                                                               Kyle Andeer (Apple in-house counsel); Sean
                                                                       Fischer, Matt; Schiller,                                                          2021.09 Dev Fee Change Hybrid                                       Document providing information for the purpose of obtaining legal advice from counsel                                                   Cameron (Apple in-house counsel); Sean
         1699          PRIV-APL-EG_00042478       PRIV-APL-EG_00042478 Phil; Cue, Eddy          2021-09-22   00:09:48                                    Model.xlsx                               Withhold    AttorneyClient regarding injunction compliance analysis of commission rate                                                                             Dillon (Apple in-house counsel)
Presentation Regarding Linked Purchases


                                                                       Wilder, Jeff; Kim,                                                                                                                                    Document with redacted text reflecting information for the purpose of obtaining legal advice                                            Ling Lew (Apple in-house counsel); Timothy
           1651       PRIV-APL-EG_00086920        PRIV-APL-EG_00086920 Timothy                                                                           link-out claims & support.key            Withhold    AttorneyClient from counsel regarding developer outreach related to U.S. Link Entitlement.                                                             Kim (Apple in-house counsel)
MP4 File


                                                                                                                                                                                                                                                                                                                        Discusses legal requirements for system
           2021       PRIV-APL-EG_00047216        PRIV-APL-EG_00047216 Tam, Mike               2023-10-12    20:59:05                                    RPReplay_Final1697144262.MP4             Withhold    AttorneyClient Document with redacted text providing legal advice from counsel regarding                  disclosure sheet                             Ling Lew (Apple in-house counsel)
